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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Charlottesville Division

    ELIZABETH SINES, et al.,

                          Plaintiffs,                        No. 3:17-cv-00072-NKM

         v.                                                  JURY TRIAL DEMANDED

    JASON KESSLER, et al.,

                          Defendants.

                                        APPEARANCE OF COUNSEL

   TO:        The Clerk of Court and all parties of record

              I, Joshua Smith, Esq., am admitted to practice in this Court (see ECF No. 1009), and I

   appear in this case as counsel for Defendants Matthew Parrott, Matthew Heimbach, and

   Traditionalist Worker Party.


                                                             Respectfully submitted,


                                                             /s/ Joshua Smith
                                                             Joshua Smith, Esq.
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                                                             Counsel for Defendants Matthew Parrott,
                                                             Matthew Heimbach, and Traditionalist
                                                             Worker Party

   Dated: August 17, 2021
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                                     CERTIFICATE OF SERVICE

          I hereby certify that on August 17, 2021, I filed the foregoing with the Clerk of Court

   through the CM/ECF system, which will send a notice of electronic filing to all counsel of record

   in the case, as well as all ECF-registered pro se parties.

          I hereby further certify that on August 17, 2021, I served a copy of the foregoing on the

   following non-ECF pro se parties, via electronic mail, as follows:

   Richard Spencer                                        Robert “Azzmador” Ray
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          I hereby further certify that on August 17, 2021, I served a copy of the foregoing on the

   following non-ECF pro se party, via first-class mail, as follows:

   Christopher Cantwell (00991-509)
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                                                           /s/ Joshua Smith
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